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10
                        UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12
13
     JOHN KRISTENSEN, Individually and )       Case No.
14   On Behalf of All Others Similarly )
15   Situated,                         )       CLASS ACTION COMPLAINT
                                               FOR DAMAGES AND DEMAND
                                       )       FOR JURY TRIAL
16
     Plaintiff,                        )
17                                     )
18          vs.                        )
                                       )
19   CREDIT ONE BANK, N.A.,            )
20                                     )
     Defendant.                        )
21
                                       )
22                                     )
23
                                       )
                                       )
24
25
                                NATURE OF THE CASE
26
           1.     Plaintiff brings this action individually and on behalf of all others
27
     similarly situated seeking damages and any other available legal or equitable
28
     remedies resulting from the illegal actions of CREDIT ONE BANK, N.A.


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 1   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff and
 2   on Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 3   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
 4                               JURISDICTION & VENUE
 5         2.     Jurisdiction is proper as Plaintiff seeks redress under a federal statute,
 6   thus this Court has jurisdiction as this matter involves questions of federal law.
 7         3.      Venue is proper in the United States District Court for the Central
 8   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
 9   because Defendant does business within the state of California and the Central
10   District of California and Plaintiff resides within this district.
11                                         PARTIES
12         4.     Plaintiff, JOHN KRISTENSEN (“Plaintiff”), is a natural person
13   residing in Los Angeles County, California and is a “person” as defined by 47
14   U.S.C. § 153 (10).
15         5.     Defendant, CREDIT ONE BANK, N.A. (“Defendant”), national
16   association specializing in consumer credit lending with its state of incorporation
17   and its corporate headquarters in the State of Nevada and is a “person” as defined
18   by 47 U.S.C. § 153 (10).
19                              FACTUAL ALLEGATIONS
20         6.     On or about May 27, 2014 at approximately 10:20am Defendant
21   placed a telephone call to Plaintiff’s cellular telephone number ending in 9711,
22   which Plaintiff has possessed exclusively for more than four (4) years.
23         7.     Defendant placed its calls from telephone number (210) 892-2188.
24         8.     The purpose of Defendant’s call was to attempt to collect an alleged
25   unpaid debt owed not by Plaintiff but by a person named Laura Burgess.
26         9.     Plaintiff answered Defendant’s call.          However, when Plaintiff
27   answered the call, he was greeted with “dead air” whereby no person was on the
28   other line. After several seconds, a male agent was connected to the automated call,


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 1   greeted Plaintiff and sought to speak with the aforementioned Laura Burgess.
 2         10.    Plaintiff promptly advised Defendant’s agent that he was not the
 3   alleged debtor and did not know the alleged debtor.
 4         11.    Defendant used an “automatic telephone dialing system”, as defined
 5   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to collect the alleged
 6   debt owed by Laura Burgess. The dead air that the Plaintiff experienced on the call
 7   that he received, coupled with the fact that Defendant’s call was placed from a
 8   Texas phone number but Defendant’s agent was an outsourced employee not
 9   residing in the United States, is indicative of the use of an automatic telephone
10   dialing system.
11         12.    Defendant’s call constituted a call that was not for emergency
12   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
13         13.    Defendant’s call was placed to a telephone number assigned to a
14   cellular telephone service for which Plaintiff incurs a charge for incoming calls
15   pursuant to 47 U.S.C. § 227(b)(1).
16         14.    Plaintiff has no business relationship with Defendant whatsoever and
17   never provided Defendant with his cellular telephone number for any purpose.
18   Further, Plaintiff is not the alleged debtor and has never known the alleged debtor.
19   Accordingly, Defendant did not have Plaintiff’s “prior express consent” to receive
20   calls using an automatic telephone dialing system on his cellular telephone pursuant
21   to 47 U.S.C. § 227(b)(1)(A).
22                               CLASS ALLEGATIONS
23         15.    Plaintiff brings this action on behalf of himself and all others similarly
24   situated, as a member of the proposed class (hereafter “The Class”) defined as
25   follows:
26   ///
27   ///
28   ///


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 1                All persons within the United States who received any
                  telephone calls from Defendant or Defendant’s agent/s
 2                and/or employee/s to said person’s cellular telephone
 3                made through the use of any automatic telephone dialing
                  system within the four years prior to the filing of this
 4
                  Complaint
 5         16.    Plaintiff represents, and is a member of, The Class, consisting of All
 6   persons within the United States who received any telephone calls from Defendant
 7   or Defendant’s agent/s and/or employee/s to said person’s cellular telephone made
 8   through the use of any automatic telephone dialing system within the four years
 9   prior to the filing of this Complaint.
10         17.    Defendant, its employees and agents are excluded from The Class.
11   Plaintiff does not know the number of members in The Class, but believes the Class
12   members number in the thousands, if not more. Thus, this matter should be
13   certified as a Class Action to assist in the expeditious litigation of the matter.
14         18.    The Class is so numerous that the individual joinder of all of its
15   members is impractical. While the exact number and identities of The Class
16   members are unknown to Plaintiff at this time and can only be ascertained through
17   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
18   The Class includes thousands of members.           Plaintiff alleges that The Class
19   members may be ascertained by the records maintained by Defendant.
20         19.    Plaintiff and members of The Class were harmed by the acts of
21   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
22   and Class members via their cellular telephones thereby causing Plaintiff and Class
23   members to incur certain charges or reduced telephone time for which Plaintiff and
24   Class members had previously paid by having to retrieve or administer messages
25   left by Defendant during those illegal calls, and invading the privacy of said
26   Plaintiff and Class members.
27   ///
28   ///


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 1         20.    Common questions of fact and law exist as to all members of The
 2   Class which predominate over any questions affecting only individual members of
 3   The Class. These common legal and factual questions, which do not vary between
 4   Class members, and which may be determined without reference to the individual
 5   circumstances of any Class members, include, but are not limited to, the following:
 6                a.    Whether, within the four years prior to the filing of this
 7                      Complaint, Defendant made any telephone call (other than a
 8                      call made for emergency purposes or made with the prior
 9                      express consent of the called party) to a Class member using
10                      any automatic telephone dialing system to any telephone
11                      number assigned to a cellular telephone service;
12                b.    Whether Plaintiff and the Class members were damaged
13                      thereby, and the extent of damages for such violation; and
14                c.    Whether Defendant should be enjoined from engaging in such
15                      conduct in the future.
16         21.    As a person that received a call from Defendant using an automatic
17   telephone dialing system, without Plaintiff’s prior express consent, Plaintiff is
18   asserting claims that are typical of The Class.
19         22.    Plaintiff will fairly and adequately protect the interests of the members
20   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
21   class actions.
22         23.    A class action is superior to other available methods of fair and
23   efficient adjudication of this controversy, since individual litigation of the claims
24   of all Class members is impracticable. Even if every Class member could afford
25   individual litigation, the court system could not. It would be unduly burdensome
26   to the courts in which individual litigation of numerous issues would proceed.
27   Individualized litigation would also present the potential for varying, inconsistent,
28   or contradictory judgments and would magnify the delay and expense to all parties


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 1   and to the court system resulting from multiple trials of the same complex factual
 2   issues. By contrast, the conduct of this action as a class action presents fewer
 3   management difficulties, conserves the resources of the parties and of the court
 4   system, and protects the rights of each Class member.
 5         24.    The prosecution of separate actions by individual Class members
 6   would create a risk of adjudications with respect to them that would, as a practical
 7   matter, be dispositive of the interests of the other Class members not parties to such
 8   adjudications or that would substantially impair or impede the ability of such non-
 9   party Class members to protect their interests.
10         25.    Defendant has acted or refused to act in respects generally applicable
11   to The Class, thereby making appropriate final and injunctive relief with regard to
12   the members of the California Class as a whole.
13                             FIRST CAUSE OF ACTION
14          Negligent Violations of the Telephone Consumer Protection Act
15                                 47 U.S.C. §227 et seq.
16         26.    Plaintiff repeats and incorporates by reference into this cause of
17   action the allegations set forth above at Paragraphs 1-26.
18         27.    The foregoing acts and omissions of Defendant constitute numerous
19   and multiple negligent violations of the TCPA, including but not limited to each
20   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
21         28.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
22   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
23   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
24         29.    Plaintiff and the Class members are also entitled to and seek
25   injunctive relief prohibiting such conduct in the future.
26   ///
27   ///
28   ///


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 1                             SECOND CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                            Act
 4                                   47 U.S.C. §227 et seq.
 5          30.    Plaintiff repeats and incorporates by reference into this cause of
 6   action the allegations set forth above at Paragraphs 1-30.
 7          31.    The foregoing acts and omissions of Defendant constitute numerous
 8   and multiple knowing and/or willful violations of the TCPA, including but not
 9   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
10   seq.
11          32.    As a result of Defendant’s knowing and/or willful violations of 47
12   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
13   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
14   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
15          33.    Plaintiff and the Class members are also entitled to and seek
16   injunctive relief prohibiting such conduct in the future.
17                                  PRAYER FOR RELIEF
18    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
19                               FIRST CAUSE OF ACTION
20          Negligent Violations of the Telephone Consumer Protection Act
21                                   47 U.S.C. §227 et seq.
22                 As a result of Defendant’s negligent violations of 47 U.S.C.
23                 §227(b)(1), Plaintiff and the Class members are entitled to and
24                 request $500 in statutory damages, for each and every violation,
25                 pursuant to 47 U.S.C. 227(b)(3)(B).
26                 Injunctive relief.
27                 Any and all other relief that the Court deems just and proper.
28   ///


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 1                            SECOND CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                           Act
 4                                 47 U.S.C. §227 et seq.
 5               As a result of Defendant’s willful and/or knowing violations of 47
 6               U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
 7               and request treble damages, as provided by statute, up to $1,500, for
 8               each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
 9               U.S.C. §227(b)(3)(C).
10               Injunctive relief.
11               Any and all other relief that the Court deems just and proper.
12
13                                DEMAND FOR JURY TRIAL
14         Please take notice that Plaintiff demands a trial by jury in this action.
15
16
17   Date: October 15, 2014                  MARTIN & BONTRAGER, APC
18
                                                   By:/s/ Nicholas J. Bontrager
19                                                        Nicholas J. Bontrager
20
                                                          Attorneys for Plaintiff

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